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               UNITED STATES DISTRICT COURT

               SOUTHERN DISTRICT OF GEORGIA

                       SAVANNAH DIVISION



UNITED STATES OF AMERICA,          )


v.    )     Case                       No . CR406-09 5
KEVIN LAVOY ROBINSON and )
DEMOND R. MILLS,

     Defendants .

                                  ORDER

     After a careful de novo review of the record in this case, the Cour t

concurs with the Magistrate Judge's Report and Recommendation, to which

objections have been filed . Accordingly, the Report and Recommendation

of the Magistrate Judge is adopted as the opinion of the Court .

     SO ORDERED this         cS   day of 2006 .




                                         UNITED STAT DISTRICT JUDGE
                                         SOUTHERN D TRICT OF GEORGIA
